Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 1of 21

EXHIBIT A
Part 1 of 4

Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 2 of 21

BUDD LARNER

David J. Novack Ow

150 JFK Parkway
Short Hills, NJ 07078 _.
(973) 379-4800 “

Attorneys for Plaintiffs

ASSURANT HEALTH, INC., a Wisconsin corporation;

BLUE CROSS AND BLUE SHIELD OF FLORIDA,
INC., a Florida corporation, and its wholly-owned
subsidiary, HEALTH OPTIONS, INC., a Florida
corporation;

LOUISIANA HEALTH SERVICE & INDEMNITY
COMPANY, doing business as BLUE CROSS and BLUE
SHIELD OF LOUISIANA, a Louisiana corporation and
its subsidiary HMO LOUISIANA, INC., a Louisiana
corporation;

BLUE CROSS BLUE SHIELD OF MASSACHUSETTS,
a Massachusetts corporation;

BLUE CROSS BLUE SHIELD OF MICHIGAN and its
wholly-owned subsidiary, BLUE CARE NETWORK,
INC, Michigan corporations;

BLUE CROSS BLUE SHIELD OF MINNESOTA, a
Minnesota corporation, and a subsidiary of AWARE
INTEGRATED, INC., and its wholly-owned subsidiaries
COMPREHENSIVE CARE SERVICES, INC., a
Minnesota corporation, FIRST PLAN OF MINNESOTA,
a Minnesota corporation, ATRIUM HEALTH PLAN,
INC., a Wisconsin corporation, and HMO MINNESOTA,
a Minnesota corporation;

GROUP HEALTH SERVICE OF OKLAHOMA, INC.,
doing business as BLUE CROSS BLUE SHIELD OF
OKLAHOMA, an Oklahoma corporation and its wholly-
owned subsidiary GROUP HEALTH MAINTENANCE
ORGANIZATION, INC., doing business as BLUELINCS
HMO, an Oklahoma corporation;

CAREFIRST, INC., a Maryland corporation, and its

SUPERIOR COURT OF NEW
JERSEY, LAW DIVISION

BERGEN COUNTY
Docket No. bly

CIVIL ACTION

COMPLAINT

JURY TRIAL DEMANDED

Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05

wholly-owned subsidiaries, CAREFIRST OF
MARYLAND, INC., a Maryland corporation, WILLSE &
ASSOCIATES, INC., a Maryland corporation, CFS
HEALTH GROUP, INC., a Maryland corporation,
DELMARVA HEALTH PLAN, INC., a Maryland
corporation, FREE STATE HEALTH PLAN, INC., a
Maryland corporation, PATUXENT MEDICAL GROUP,
INC., a Maryland corporation, GROUP
HOSPITALIZATION AND MEDICAL SERVICES,
INC., a company created under federal charter, CAPITAL
CARE, INC., a District of Columbia corporation,
CAPITAL AREA SERVICES, INC., a West Virginia
corporation, BLUE CROSS BLUE SHIELD OF
DELAWARE, INC., a Delaware corporation;

EXCELLUS HEALTH PLAN, INC., a New York
corporation, and its wholly-owned subsidiary EXCELLUS
BENEFIT SERVICES, INC., a New York corporation;

FEDERATED MUTUAL INSURANCE COMPANY ,a
Minnesota mutual company;

HEALTH CARE SERVICE CORPORATION, an Illinois
Mutual Legal Reserve Company, on behalf of itself and its
Illinois, New Mexico and Texas Divisions;

MUTUAL OF OMAHA INSURANCE COMPANY ,a
Nebraska mutual company;

TRUSTMARK INSURANCE COMPANY , a Delaware
corporation;

WELLCHOICE, INC., a Delaware corporation, and its
wholly-owned subsidiary EMPIRE HEALTHCHOICE
ASSURANCE, INC., a New York corporation, doing
business as EMPIRE BLUE CROSS BLUE SHIELD and
EMPIRE BLUE CROSS, and its wholly-owned
subsidiaries EMPIRE HEALTHCHOICE HMO, INC.,
doing business in New York as EMPIRE BLUE CROSS
BLUE SHIELD HMO and EMPIRE BLUE CROSS
HMO, and doing business in New Jersey as
WELLCHOICE HMO OF NEW JERSEY;

WELLCHOICE INSURANCE OF NEW JERSEY, INC.,
a New Jersey corporation and a wholly-owned subsidiary
of EMPIRE HEALTHCHOICE ASSURANCE, INC., a

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Page 3 of 21

Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 4 of 21

“New York corporation;

Plaintiffs,

Vv.

PFIZER, INC., a Delaware Corporation, and its wholly-
owned subsidiary WARNER-LAMBERT COMPANY ;

CLINE, DAVIS & MANN, INC.,
a New York Corporation;

LODEWIJK J.R. DE VINK,
a resident of New Jersey; and

ANTHONY WILD,
a resident of New Jersey,

Defendants.

526848.W

Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 5 of 21

TABLE OF CONTENTS

INTRODUCTION wvnentnninnnnstnieniitnnnentsitnntiiesstsistsitituteeeeeecc. 1
NATURE OF ACTION wicsscssnennennttnntnststinieieissinnrntitiutunniuiititieececc. 1
PLAINTIFFS oossentnnenncininnenenninnnsssnisnntaitiisstunniniaaitanunitiescec 2
DEFENDANTS ..nscntnitnionnnenstninnniinnntnntsnnnitatisisinsteiainniutuieececc. 10
JURISDICTION AND VENUE w.cssestnustnnsnsnnstistnieaisstnsnstnnnnuntuiuvianiiieeec. 12
PACTS vrticsneinnnntnnantiniinnnnninanitnniiennnisittisistntitiaitibiiiiieeecc. 12
COUNT I

Unlawful Restraint of Trade by Defendants In Violation of New J ersey Antitrust Act on

Behalf of All Plaintiffs...oceusmnenenennsienenensistunivniiitinanisec 21
COUNT II

Unlawful Restraint of Trade by Defendants In Violation of District of Columbia’s

Antitrust Act on Behalf of Plaintiff CareFitSt.....cca:ossesnstutientunsiisssieeececccc. 22
COUNT III

Unlawful Restraint of Trade by Defendants In Violation of the District of Columbia’s

Prescription Drug Price Information Law on Behalf of Plaintiff CareFirSt...0..cccccscccscosesoosescoc.., 23
COUNT IV

Unlawful Restraint of Trade by Defendants In Violation of Florida Antitrust Act of 1980

on Behalf of Plaintiff BCBS Flotida.....ccsssrsmeunuesensutisisintitunitiunstisenccc. 24
COUNT V

Unlawful Restraint of Trade by Defendants In Violation of the Illinois Antitrust Act on

Behalf of Plaintiffs HCSC and Trustmatk......sinseneusnuninntnvtituecctcccc 25
COUNT VI

Unlawful Restraint of Trade by Defendants In Violation of Louisiana Antitrust Act on

Behalf of Plaintiff BCBS Louisiana .....soeesieninnsnnnsnnnninnnirsiteeeceeccc. 26
COUNT VII

Unlawful Restraint of Trade by Defendants In Violation of Michigan Antitrust Reform

Act on Behalf of Plaintiff BCBS Michigans... oesesssssssssssssssssssssssnassssssssssssssssssssssssestssesseseessecce 27
COUNT VII

Unlawful Restraint of Trade by Defendants In Violation of Minnesota Antitrust Act of

1971 on Behalf of Plaintiffs BCBS Minnesota and Federated Insurance.teecceecceccccccsccccoseccc..... 28

Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 6 of 21

COUNT IX
Unlawful Restraint of Trade by Defendants In Violation of the Nebraska Antitrust Laws
on Behalf of Plaintiff Mutual of Omaha ......cssssssscssnessseessstinsiuanuustiiiriecsseenceeccc

COUNT X
Unlawful Restraint of Trade by Defendants In Violation of New Mexico Antitrust Act on
Behalf of Plaintiff HCSC......ssssensesseessssetatiunetnttastssttssiisississtiustusnusiseceecccc.

COUNT XI
Unlawful Restraint of Trade by Defendants In Violation of New York Antitrust Act on
Behalf of Plaintiffs WellChoice and ExcellUs .......scsssssssssssnsistinetisstusisusiesteeceescecccc.

COUNT XII

Unlawful Restraint of Trade by Defendants In Violation of Oklahoma’s Antitrust Reform
Act on Behalf of Plaintiff BCBS Oklahoma

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COUNT XIII

Unlawful Monopolization by Defendants In Violation of New Jersey Law on Behalf of
AIL PLAINES a soeertnesseesetstnetsttetsnsaeisnstisientntisstatinnistuniintistuitiniisccesececcc.

COUNT XIV
Unlawful Monopolization by Defendants In Violation of District of Columbia Law on
Behalf of Plaintiff CareFirst.....sccsssssessssssntussiasiastsniessistinnariiasiusuncseeeeeccecc,

COUNT XV
Unlawful Monopolization by Defendants In Violation of Florida Antitrust Act of 1980
Law on Behalf of Plaintiff BCBS Florida

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COUNT XVI
Unlawful Monopolization by Defendants In Violation of Illinois Law on Behalf of
Plaintiffs HCSC and Trustmark

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COUNT XVII
Unlawful Monopolization by Defendants In Violation of Louisiana Law on Behalf of
Plaintiff BCBS Louisiana

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COUNT XVIII

‘Unlawful Monopolization by Defendants In Violation of Massachusetts Law on Behalf of
Plaintiff BCBS Massachusetts

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COUNT XIX

Unlawful Monopolization by Defendants In Violation of Michigan Law on Behalf of
Plaintiff BCBS Michigan

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COUNT XX

Unlawful Monopolization by Defendants In Violation of Minnesota Law on Behalf of
Plaintiffs BCBS Minnesota and Federated Insurance

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ii
Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 7 of 21

COUNT XXI
Unlawful Monopolization by Defendants In Violation of Nebraska Law on Behalf of
Plaintiff Mutual of Omaha...sssscssssssscssssssssnsstinsstsussssnsstunsinisnstisastisissinsesaseeeeeeeccccc 42

COUNT XXII
Unlawful Monopolization by Defendants In Violation of New Mexico Law on Behalf of
Plaintiff OSC ...-ssssssssessssssessstsnsesessstsnsssusseeasstsansnsnsisssinsttissttisasitvsteseeeeeeeeccc. 43

COUNT XXIII
Unlawful Monopolization by Defendants In Violation of New York Law on Behalf of
Plaintiffs WellChoice and Excellus

COUNT XXIV

Unlawful Monopolization by Defendants In Violation of Oklahoma Law on Behalf of
Plaintiff BCBS Oklahoma

COUNT XXV
Unfair and Deceptive Trade Practices by Defendants In Violation of New J ersey
Consumer Fraud Act on Behalf of All Plaintiffs .....ccccscssssssssnsssssssssssseucceeeeeccccc 46

COUNT XXVI
Unfair and Deceptive Trade Practices by Defendants In Violation of the Delaware
Consumer Fraud Act on Behalf of Plaintiff CareFirst ......ccccssssssssssstsssesseeeseeeccoeeeececccc., 47

COUNT XXVII
Unfair and Deceptive Trade Practices by Defendants In Violation of the Delaware
Uniform Deceptive Trade Practices Act on Behalf of Plaintiff CareFirst... cccccssccsscesseeccece. 48

COUNT XXVIII
Unfair and Deceptive Trade Practices by Defendants In Violation of the District of
Columbia Consumer Protection Procedures Act on Behalf of Plaintiff CareFirst ...0....cccccccsc.-. 49

COUNT XXIX
Unfair and Deceptive Trade Practices by Defendants In Violation of the Florida
Deceptive and Unfair Trade Practices Act on Behalf of Plaintiff BCBS Florida... 51

COUNT XXX
Unfair and Deceptive Trade Practices by Defendants In Violation of the Illinois

Consumer Fraud and Deceptive Business Practices Act on Behalf of Plaintiffs HCSC and
PTUStMATK .ssseseseesssesssrsseesntaetasteessssisstnnstiasttnsstisseisstinenttiuatiiastisisieeeeccc. 52

COUNT XXXI

Unfair and Deceptive Trade Practices by Defendants In Violation of the Illinois Uniform
Deceptive Trade Practices Act on Behalf of Plaintiffs HCSC and Trustmark

COUNT XXXII

Unfair and Deceptive Trade Practices by Defendants In Violation of the Louisiana Unfair
Trade Practices and Consumer Protection Act on Behalf of Plaintiff BCBS Louisiana............. 54

ill
Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 8 of 21

COUNT XXXIII
Unfair and Deceptive Trade Practices by Defendants In Violation of the Maryland
Consumer Protection Act on behalf of Plaintiff CareFirst... cecesssscsssssssssssesssssssssssesercceecosscc 55

COUNT XXXIV

Unfair and Deceptive Trade Practices by Defendants In Violation of Massachusetts’
Consumer Protection Act on Behalf of Plaintiff BCBS Massachusetts

COUNT XXXV
Unfair and Deceptive Trade Practices by Defendants In Violation of the Michi gan
Consumer Protection Act on Behalf of Plaintiff BCBS Michigan wis ccesssesssssscseccescooseescccs, 57

COUNT XXXVI
Unfair and Deceptive Trade Practices by Defendants In Violation of the Minnesota

Uniform Deceptive Trade Practices Act on Behalf of Plaintiffs BCBS Minnesota and
Federated Insurance Terettnarseaesessescatacessasacssstensesererseneassscascuessaassessessacesssssessassstsnsarsissuassavarsscecece, 59

COUNT XXXVII

Unfair and Deceptive Trade Practices by Defendants In Violation of the Minnesota
Prevention of Consumer Fraud Act on Behalf of Plaintiff BCBS Minnesota .......ccscccccsceeseeeos... 60

COUNT XXXVI
Unfair and Deceptive Trade Practices by Defendants In Violation of the Nebraska
Uniform Deceptive Trade Practices Act on Behalf of Plaintiff Mutual of Omaha

COUNT XXXIX
Unfair Methods of Competition and Deceptive Practices by Defendants In Violation of
the Nebraska Consumer Protection Act on Behalf of Plaintiff Mutual of Omaha ...................... 62

COUNT XL

Unfair and Deceptive Trade Practices by Defendants In Violation of the New Mexico
Unfair Practices Act on Behalf of Plaintiff HCSC

COUNT XLI

Unfair and Deceptive Trade Practices by Defendants In Violation of the New York
Deceptive Acts and Practices Law on Behalf of Plaintiffs WellChoice and Excellus................. 64

COUNT XLII

Unfair and Deceptive Trade Practices by Defendants In Violation of the Oklahoma
Consumer Protection Act on Behalf of Plaintiff BCBS Oklahoma......cs..csssccescsssssssssssesecccccssss... 65

COUNT XLII

Unfair and Deceptive Trade Practices by Defendants In Violation of the Oklahoma
Deceptive Trade Practices Act on Behalf of Plaintiffs BCBS Oklahoma ......cssecccssscesssseececses.... 66

COUNT XLIV

Tortious Interference with Business Relationship or Prospective Economic Advantage by
Defendants Under State Law on Behalf of All Plaintiffs

iv
Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 9 of 21

COUNT XLV
Unjust Enrichment by Defendants Under State Law on Behalf of All Plaintiffs

Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 10 of 21

Plaintiffs, by and through their attorneys, Robins, Kaplan, Miller & Ciresi L.L.P., on
- behalf of themselves and certain self-funded customers, hereby seek damages, other monetary
relief and equitable relief for Defendants’ violations of state antitrust and consumer protection
laws. Plaintiffs’ Complaint is based upon knowledge as to themselves and their own acts, and
upon information and belief based on publicly available documents and pleadings as to all other
matters, as follows:
INTRODUCTION

1. Pfizer, Inc., Warner-Lambert Co., Cline, Davis & Mann, Inc., Lodewijk J.R. de
Vink, and Anthony Wild (unless otherwise identified, collectively referred to herein as
“Defendants”) engaged in a continuing and on-going scheme to illegally increase market share
and power by restraining generic bioequivalents of its popular anti-convulsant drug Neurontin
from competing or otherwise entering the market through a false, deceptive, and misleading
marketing campaign and misusing the legal and regulatory system.

NATURE OF ACTION

2. This action seeks damages and injunctive relief pursuant to state antitrust and
state consumer protection statutes, in addition to redress for Defendants’ unjust enrichment and
tortious interference with Plaintiffs’ prospective economic advantage and business relationships.
Plaintiffs have paid and continue to pay artificially high prices for Neurontin or generic
bioequivalents of Neurontin’, as a direct result of Defendants’ unlawful acts. Defendants
unreasonably prevented and eliminated competition in the market for Neurontin or generic
bioequivalents of Neurontin, thereby illegally increasing and maintaining market share and

power, and otherwise engaged in fraudulent, unfair, and deceptive acts and practices that directly

’ Hereinafter “generic bioequivalents of Neurontin” or “generic bioequivalent of Neurontin” means anhydrous
gabapentin that is not lactam free, unless otherwise specified.

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Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 11 of 21

caused Plaintiffs and certain self-funded employer groups to pay inflated prices for Neurontin or
generic bioequivalents of Neurontin.
PLAINTIFFS

3. Plaintiff Assurant Health, a subsidiary of Assurant, Inc., is a New York
corporation with its principal place of business in Milwaukee, Wisconsin. At all times relevant
to this action, Assurant Health has been, and is, licensed to do, and is doing, business in the state
of Wisconsin and is a payer for prescription drugs, including Neurontin or generic bioequivalents
of Neurontin, on behalf of its members and self-funded customers, typically employer-sponsored
health plans that contract with Assurant Health to administer claims on their behalf and to pursue
recoveries of plan-related losses. Assurant Health is engaged in prescription drug managed-care
programs on behalf of its members and self-funded customers. Assurant Health has the authority
on behalf of its self-funded customers to pursue claims against the Defendants. As used herein,
“Assurant Health” includes its self-funded customers.

4, Plaintiffs Blue Cross and Blue Shield of Florida, a Florida mutual insurance
corporation and its wholly-owned subsidiary, Health Options, Inc., a Florida health care
corporation (collectively “BCBS Florida”), are both incorporated under the laws of Florida and
have their principal places of business in Jacksonville, Florida. At all times relevant to this
action, BCBS Florida has been, and is, licensed to do, and is doing, business in the State of
Florida and is a payer for prescription drugs, including Neurontin or generic bioequivalents of
Neurontin, on behalf of its members and self-funded customers, typically employer-sponsored
health plans that contract with BCBS Florida to administer claims on their behalf and to pursue
recoveries of plan-related losses. BCBS Florida is engaged in prescription drug managed-care

programs on behalf of its members and self-funded customers. BCBS Florida has the authority

Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 12 of 21

on behalf of its self-funded customers to pursue claims against the Defendants. As used herein,
“BCBS Florida” includes its self-funded customers.

5. Plaintiff Louisiana Health Service & Indemnity Company, doing business as Blue
Cross and Blue Shield of Louisiana is a Louisiana health services plan corporation incorporated
under the laws of the state of Louisiana, and has its principal place of business in Baton Rouge,
Louisiana and its wholly-owned subsidiary, Plaintiff HMO Louisiana, Inc. (“HMOLA”) is a
Louisiana corporation, (collectively “BCBS Louisiana”). At all times relevant to this action,

BCBS Louisiana has been, and is, licensed to do, and is doing, business in the state of Louisiana

and is a payer for prescription drugs, including Neurontin or generic bioequivalents of

Neurontin, on behalf of its members and self-funded customers, typically employer-sponsored
health plans that contract with BCBS Louisiana to administer claims on their behalf and to
pursue recoveries of plan-related losses. BCBS Louisiana is engaged in prescription drug
managed-care programs on behalf of its members and self-funded customers. BCBS Louisiana
has the authority on behalf of its self-funded customers to pursue claims against the Defendants.
As used herein, “BCBS Louisiana” includes its self-funded customers.

6. Plaintiff Blue Cross and Blue Shield of Massachusetts, Inc. (“BCBS
Massachusetts”) is a hospital and medical services corporation organized under the laws of
Massachusetts, and has its principal place of business in Boston, Massachusetts. At all times
relevant to this action, BCBS Massachusetts has been, and is, licensed to do, and is doing,
business in the state of Massachusetts and is a payer for prescription drugs, including Neurontin
or generic bioequivalents of Neurontin, on behalf of its members and self-funded customers,
typically employer-sponsored health plans that contract with BCBS Massachusetts to administer

claims on their behalf and to pursue recoveries of plan-related losses. BCBS Massachusetts is

Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 13 of 21

engaged in prescription drug managed-care programs on behalf of its members and self-funded
customers. BCBS Massachusetts has the authority on behalf of its self-funded customers to
“pursue claims against the Defendants. As used herein, “BCBS Massachusetts” includes its self-
funded customers.

7. Plaintiffs Blue Cross Blue Shield of Michigan and its wholly-owned subsidiary,
Blue Care Network, Inc. (collectively “BCBS Michigan’) are Michigan health care corporations
incorporated under the laws of Michigan, and have their principal places of business in
Michigan. At all times relevant to this action, BCBS Michigan has been, and is, licensed to do,
and is doing, business in the state of Michigan and is a payer for prescription drugs, including
Neurontin or generic bioequivalents of Neurontin, on behalf of its members and self-funded
customers, typically employer-sponsored health plans that contract with BCBS Michigan to
administer claims on their behalf and to pursue recoveries of plan-related losses. BCBS
Michigan is engaged in prescription drug managed-care programs on behalf of its members and
self-funded customers. BCBS Michigan has the authority on behalf of its self-funded customers
to pursue claims against the Defendants. As used herein, “BCBS Michigan” includes its self-
funded customers,

8. Plaintiffs Blue Cross Blue Shield of Minnesota, a subsidiary of Aware Integrated,
Inc., and its wholly-owned subsidiaries Comprehensive Care Services, Inc., First Plan of
Minnesota, Atrium Health Plan and HMO Minnesota, (collectively “BCBS Minnesota” , are
Minnesota health services plan corporations incorporated under the Minnesota Nonprofit Health
Service Plan Corporations Act, Minn. Stat. § 62C (2000), and have their principal places of
business in Eagan, Minnesota. At all times relevant to this action, BCBS Minnesota has been,

and is, licensed to do, and is doing, business in the state of Minnesota and is a payer for

Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 14 of 21

prescription drugs, including Neurontin or generic bioequivalents of Neurontin, on behalf of its
subscribers and self-funded customers, typically employer-sponsored health plans that contract
with BCBS Minnesota to administer claims on their behalf and to pursue recoveries of plan-
related losses. BCBS Minnesota is engaged in prescription drug managed-care programs on
behalf of its subscribers and self-funded customers. BCBS Minnesota has the authority on
behalf of its self-funded customers to pursue claims against the Defendants. As used herein,
“BCBS Minnesota” includes its self-funded customers.

9. Plaintiff Group Health Service of Oklahoma, Inc., doing business as Blue Cross
Blue Shield of Oklahoma, is an Oklahoma health services corporation incorporated under the
Oklahoma Hospital Service and Medical Indemnity Corporations, Nonprofit Act, Okla. Stat. tit.
36 Section 2601 et seq., and its wholly-owned subsidiary Plaintiff Group Health Maintenance
Organization, Inc., doing business as Bluelincs HMO (collectively “BCBS Oklahoma”) have
their principal places of business in Tulsa, Oklahoma. At all times relevant to this action, BCBS
Oklahoma has been, and is, licensed to do, and is doing, business in the state of Oklahoma and is
a payer for prescription drugs, including Neurontin or generic bioequivalents of Neurontin, on
behalf of its subscribers, typically employer-sponsored health plans that contract with BCBS
Oklahoma to administer claims on their behalf and to pursue recoveries of plan-related losses.
BCBS Oklahoma is engaged in prescription drug managed-care programs on behalf of its
subscribers.

10. Plaintiff CareFirst, Inc. is a health services plan corporation incorporated under
the laws of Maryland, and has its principal place of business in Owings Mills, Maryland with
wholly-owned subsidiaries: Plaintiffs CareFirst of Maryland, Inc., a Maryland corporation with

its principal place of business in Owings Mills, Maryland; Willse & Associates, Inc. a Maryland

Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 15 of 21

corporation with its principal place of business in Owings Mills, Maryland; CFS Health Group,
Inc., a Maryland corporation with its principal place of business in Owings Mills, Maryland;
Delmarva Health Plan, Inc., a Maryland corporation with its principal place of business in
Owings Mills, Maryland; Free State Health Plan, Inc., a Maryland corporation with its principal
place of business in Owings Mills, Maryland; Group Hospitalization and Medical Services, Inc.,
a District of Columbia company created under federal charter with its principal place of business
in the District of Columbia; Capital Care, Inc., a District of Columbia corporation with its
principal place of business in the District of Columbia; Capital Area Services, Inc., a West
Virginia corporation with its principal place of business in West Virginia; and BCBS of
Delaware, Inc., a Delaware corporation with its principal place of business in Delaware
(collectively “CareFirst”). At all times relevant to this action, CareFirst has been, and is,
licensed to do, and is doing, business in the state of Maryland and is a payer for prescription
drugs, including Neurontin or generic bioequivalents of Neurontin, on behalf of its subscriber
and self-funded customers, typically employer-sponsored health plans that contract with
CareFirst to administer claims on their behalf and to pursue recoveries of plan-related losses.
CareFirst is engaged in prescription drug managed-care programs on behalf of its subscriber and
self-funded customers. CareFirst has the authority on behalf of its self-funded customers to
pursue claims against the Defendants. As used herein, “CareFirst” includes its self-funded
customers.

11. Plaintiff Excellus Health Plan, Inc. is a New York insurer with its principal
offices located in Rochester, New York, with a wholly-owned subsidiary, Plaintiff Excellus
Benefit Services, Inc., a New York corporation, headquartered in Syracuse, N.Y. (collectively

“Excellus”) wholly-owned. At all times relevant to this action, Excellus has been, and is,

Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 16 of 21

licensed to do, and is doing, business in the state of New York and is a payer for prescription
drugs, including Neurontin or generic bioequivalents of Neurontin, on behalf of its members and
self-funded customers, typically employer-sponsored health plans that contract with Excellus to
administer claims on their behalf and to pursue recoveries of plan-related losses. Excellus is
engaged in prescription drug managed-care programs on behalf of its members and self-funded
customers. Excellus has the authority on behalf of its self-funded customers to pursue claims
against the Defendants. As used herein, “Excellus” includes its self-funded customers.

12. Federated Mutual Insurance Company (“Federated Insurance”) is a Minnesota
mutual corporation, with its principal place of business in Owatonna, Minnesota. At all times
relevant to this action, Federated Insurance has been, and is, licensed to do, and is doing,
business in the state of Minnesota and is a payer of prescription drugs, including Neurontin or
generic bioequivalents of Neurontin, on behalf of its members and self-funded customers,
typically employer-sponsored health plans that contract with Federated Insurance to administer
claims on their behalf. Federated Insurance is engaged in prescription drug managed-care
programs on behalf of its members and self-funded customers. Federated Insurance has the
authority on behalf of its self-funded customers to pursue claims against the Defendants. As
used herein, “Federated Insurance” includes its self-funded customers.

13. Plaintiff Health Care Service Corporation (“HCSC”) is an Illinois Mutual Legal
Reserve Company, which includes its Hlinois, New Mexico and Texas Divisions. HCSC is
incorporated under the laws of the state of Illinois, and has its principal place of business in
Chicago, Illinois. At all times relevant to this action, HCSC has been, and is, licensed to do, and
is doing, business in the states of Hlinois, Texas and New Mexico, and is a payer for prescription

drugs, including Neurontin or generic bioequivalents of Neurontin, on behalf of its members and

Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 17 of 21

self-funded customers, typically employer-sponsored health plans that contract with HCSC to
administer claims on their behalf and to pursue recoveries of plan-related losses. HCSC is
engaged in prescription drug managed-care programs on behalf of its members and self-funded
customers. HCSC has the authority on behalf of its self-funded customers to pursue claims
against the Defendants. As used herein, “HCSC” includes its self-funded customers.

14. Plaintiff Mutual of Omaha Insurance Company (“Mutual of Omaha”) is a
Nebraska mutual company incorporated under the laws of Nebraska, and has its principal place
of business in Omaha, Nebraska, with wholly-owned subsidiaries: United of Omaha Life
Insurance Company, a Nebraska corporation with its principal place of business in Omaha,
Nebraska; United World Life Insurance Company, a Nebraska corporation with its principal
place of business in Omaha, Nebraska; Exclusive Healthcare, Inc., a Nebraska corporation, with
its principal place of business in Omaha, Nebraska; and Companion Life Insurance Company,
incorporated in New York, with its principal place of business in New York (collectively,
“Mutual of Omaha”). At all times relevant to this action, Mutual of Omaha has been, and is,
licensed to do, and is doing, business in the state of Nebraska and is a payer for prescription
drugs, including Neurontin or generic bioequivalents of Neurontin, on behalf of its members and
self-funded customers, typically employer-sponsored health plans that contract with Mutual of
Omaha to administer claims on their behalf and to pursue recoveries of plan related losses.
Mutual of Omaha is engaged in prescription drug managed-care programs on behalf of its
members and self-funded customers. Mutual of Omaha is also pursuing the claims of its self.

funded customers against the Defendants. As used herein, “Mutual of Omaha” includes its self.

funded customers.

Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 18 of 21

15. The Trustmark Insurance Company (Sentinel Group) (“Trustmark”) is a Delaware
Corporation with its principal place of business in Lake Forest, Illinois. At all times relevant to
this action, Trustmark has been, and is, licensed to do, and is doing, business in the state of
Illinois and is a payer for prescription drugs, including gabapentin prescription products, on
behalf of its members and self-funded customers, typically employer-sponsored health plans that
contract with Trustmark to administer claims on their behalf and to pursue recoveries of plan-
related losses. Trustmark is engaged in prescription drug managed-care programs on behalf of
its members and self-funded customers. Trustmark has the authority on behalf of its self-funded
customers to pursue claims against the Defendants. As used herein, “Trustmark” includes its
self-funded customers.

16. Plaintiff WellChoice, Inc. is a corporation incorporated under the laws of
Delaware with its principal place of business in New York, New York. Plaintiff WellChoice Inc.
wholly owns (through WellChoice Holdings of New York, Inc.) Plaintiff Empire HealthChoice
Assurance, Inc. (d/b/a Empire Blue Cross Blue Shield and Empire Blue Cross) (“EHCA”) which
in turn wholly owns Plaintiff Empire HealthChoice HMO, Inc. (d/b/a Empire Blue Cross Blue
Shield HMO and Empire Blue Cross HMO in the state of New York, and d/b/a WellChoice
HMO of New Jersey in the state of New Jersey). EHCA is a health insurance corporation
incorporated under the laws of New York; and Empire HealthChoice HMO, Inc. is a health
maintenance corporation incorporated under the laws of the state of New York. (collectively
“WellChoice’”). At all times relevant to this action, WellChoice has been, and is, licensed to do,
and is doing, business in the state of New York and is a payer for prescription drugs, including
Neurontin or generic bioequivalents of Neurontin, on behalf of its members and self-funded

customers, typically employer-sponsored health plans that contract with WellChoice to

Word 20113683.1
Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 19 of 21

administer claims on their behalf and to pursue recoveries of plan-related losses. WellChoice is
engaged in prescription drug managed-care programs on behalf of its members and self-funded
customers. WellChoice has the authority on behalf of its self-funded customers to pursue claims
against the Defendants. As used herein, “WellChoice” includes its self-funded customers.

17. Plaintiff WellChoice Insurance of New J ersey, Inc. is a health insurance
corporation incorporated under the laws of the state of New Jersey, which has its principal place
of business in Iselin, New J ersey (“WellChoice of New J ersey”). WellChoice of New J ersey isa
wholly owned subsidiary of EHCA, and at all times relevant to this action, WellChoice of New
Jersey has been, and is, licensed to do, and is doing, business in the state of New Jersey and is a
payer for prescription drugs, including Neurontin or generic bioequivalents of Neurontin, on
behalf of its members and/or self-funded customers, typically employer-sponsored health plans
that contract with WellChoice of New Jersey to administer claims on their behalf and to pursue
recoveries of plan-related losses. WellChoice of New Jersey is engaged in prescription drug
managed-care programs on behalf of its members and self-funded customers. WellChoice of
New Jersey has the authority on behalf of its self-funded customers to pursue claims against the
Defendants. As used herein, “WellChoice of New Jersey” includes its self-funded customers.

DEFENDANTS

18. Defendant Pfizer, Inc. is a Delaware corporation with its principal corporate
offices located at 235 East 42nd Street, New York, New York. Defendant Pfizer, Inc, wholly
owns Defendant Warner-Lambert Company and its Parke-Davis Division as of June 19, 2000,
and Defendant Pfizer, Inc. is the successor corporation to Warner-Lambert Company, Inc., a

Delaware Corporation with its principal place of business at 201 Tabor Road, Morris Plains,

10
Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 20 of 21

New Jersey, and any parent, subsidiary, division, or affiliate of Warner-Lambert Company, Inc.
(unless otherwise identified, collectively “Pfizer’),

19. Pfizer is a leading international pharmaceutical company distributing products to
150 countries worldwide, and manufactures and markets several of the world’s top-selling brand-
name prescription drugs, including Neurontin. In 2003, Pfizer’s net sales worldwide were
approximately $45.2 billion.

20. Since Pfizer’s acquisition of Warner-Lambert Company in June 2000, Pfizer has
continued to participate in, further, accept the benefits from, and ratify a scheme commenced by
Warner-Lambert Company and others to prevent or delay generic versions of Neurontin from
being available to the public and misrepresenting Neurontin and its safety and effectiveness.

21. Defendant Cline, Davis & Mann, Inc. (“Cline, Davis & Mann”) is a New York
corporation with its principal place of business at 22 East 42nd Street, New York, New York
10017, with offices at 302 Carnegie Center, Suite 102, Princeton, New Jersey 08540. Defendant
Cline, Davis & Mann, Inc. entered into an agreement with Defendant Pfizer and was aware of,
participated in, and received the benefits from the conduct alleged in this Complaint.

22. Defendant Lodewijk JR. de Vink was the former Chairman, Chief Executive
Officer and President of Warner-Lambert Company. Upon information and belief, Defendant
Lodewijk J.R. de Vink is a resident of New J ersey.

23. Defendant Lodewijk J.R. de Vink has personally benefited from and participated
in, directed, knowingly acquiesced to or should have known about and had the power to control
the conduct alleged in this Complaint and incorporated herein by reference.

24, Defendant Anthony Hugh Wild was the former Executive Vice President of

Warner-Lambert Company and President of Warner-Lambert Company’s Pharmaceutical Sector,

11
Word 20113683.1

Case 1:04-cv-10981-PBS Document 65-2 Filed 03/25/05 Page 21 of 21

and President of Parke-Davis North America, Defendant Anthony Hugh Wild is a resident of
New Jersey.

25. Defendant Anthony Hugh Wild has personally benefited from and participated in,
directed, knowingly acquiesced to or should have known about and had the power to control the
conduct alleged in this Complaint and incorporated herein by reference.

26. The acts alleged in this Complaint related to Defendants Pfizer and Cline, Davis
& Mann, Inc. were authorized, ordered and performed by their officers, directors, agents,
employees, representatives or subsidiaries while engaged in the management, direction, control
or transaction of Defendants’ businesses.

JURISDICTION AND VENUE

27. Subject matter jurisdiction is proper pursuant to N.J. Stat. § 56:9-10 (2004).

28. Venue in this Court is proper pursuant to New Jersey Court Rules 4:3-2 (2004).
Defendants’ conduct as alleged below transpired and/or was carried out in New Jersey and
elsewhere in the United States. In addition, Defendants maintain offices, facilities or residences
in various locations in New Jersey, including Morris Plains, New Vernon, Parsippany, Peapack,
Princeton and Red Bank. Defendants do business in Bergen County.

FACTS

29. Defendant Pfizer began to market anhydrous gabapentin that is not lactam free,
under the brand name Neurontin, in or about 1993. Defendant Pfizer marketed Neurontin as a
unique and superior product compared to other drugs. The actual demand for Neurontin,
however, was small, because Neurontin had only been approved as an anti-convulsant agent for

adjunctive treatment, not stand-alone treatment, of seizures for adults with epilepsy up to 1800

mg/day.

12
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